                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION


JOSEPH JONES,                                        )
                                                     )
                      Plaintiff,                     )
                                                     )      JUDGMENT IN A CIVIL CASE
       v.                                            )
                                                     )      CASE NO. 5:21-CV-67-D
KILOLO KIJAKAZI, Acting Commissioner of              )
Social Security,                                     )
                 Defendant.                          )


Decision by Court.
This action came before this Court for ruling as follows.

IT IS ORDERED, ADJUDGED, AND DECREED that the Court hereby reverses Defendant's
decision under sentence four of 42 U.S.C. § 405(g) and remands the case to Defendant for further
administrative action.


This Judgment Filed and Entered on December 2, 2021, and Copies To:
George C. Piemonte                                          (via CM/ECF electronic notification)
Lisa M. Rayo                                                (via CM/ECF electronic notification)




DATE:                                        PETER A. MOORE, JR., CLERK
December 2, 2021                             (By) /s/ Nicole Sellers
                                              Deputy Clerk




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